Case 3:22-cv-00049-NKM-JCH Document 186 Filed 03/16/23 Page 1 of 2 Pageid#: 2297




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION


  ------------------------------------X
  BABY DOE, A CITIZEN OF AFGHANISTAN     :
  CURRENTLY RESIDING IN NORTH            :
  CAROLINA, BY AND THROUGH NEXT          :                CIVIL ACTION NO. 3:22-CV-49
  FRIENDS, JOHN AND JANE DOE;AND JOHN :
  AND JANE DOE, CITIZENS OF AFGHANISTAN :
  AND LEGAL GUARDIANS OF BABY DOE,       :
                                         :
       Plaintiffs,                       :
                                         :
  v.                                     :
                                         :
  JOSHUA MAST, STEPHANIE MAST, RICHARD :
  MAST, KIMBERLEY MOTLEY, AND AHMAD :
  OSMANI,                                :
                                         :
       Defendants,                    :
                                       :
  and                                  :
                                       :
  UNITED STATES SECRETARY OF STATE    :
  ANTONY BLINKEN AND UNITED STATES :
  SECRETARY OF DEFENSE GENERAL         :
  LLOYD AUSTIN,                       :
                                      :
       Nominal Defendants.            :

  ------------------------------------X


   ORDER GRANTING PLAINTIFFS’ MOTION FOR LEAVE TO SEAL EXHIBITS 1-5
  TO PLAINTIFFS’ OPPOSITION TO DEFENDANT RICHARD MAST’S MOTION AND
    MEMORANDUM IN SUPORT OF ORDER DIRECTING CLERK TO REQUEST
            INFORMATION HELD BY A VIRGINIA CIRCUIT COURT

         Having considered Plaintiff's Motion, and Memorandum of Law in Support of Motion, to

  Seal Exhibits 1-5 to Plaintiffs’ Opposition to Defendant Richard Mast’s Motion and

  Memorandum in Support of Order Directing Clerk to Request Information Held by a Virginia
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  Circuit Court, pursuant to Local Civil Rule 9, and for good cause shown, and the requirements of

  Local Civil Rule 9(b), and the decisions in Ashcraft v. Conoco, Inc., 218 F.3d 288 (4th Cir.

  2000), In re Knight Publishing Co., 743 F.2d 231 (4th Cir. 1984), and Stone v. Univ. of

  Maryland, 855 F.2d 178 (4th Cir. 1988) having been met, it is hereby ORDERED that Plaintiff's

  Motion, ECF No. 184, is granted. It is further ORDERED that Exhibits 1-5 Plaintiffs’ Opposition

  to Defendant Richard Mast’s Motion and Memorandum in Support of Order Directing Clerk to

  Request Information Held by a Virginia Circuit Court is filed under seal.



          Entered this 16th day of March, 2023.




                                               ______________________________
                                               Judge




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